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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


 TEXAS TOP COP SHOP, INC., et al.,

           Plaintiffs,

      v.                                             No. 4:24-cv-478-ALM

 MERRICK GARLAND, ATTORNEY
 GENERAL OF THE UNITED STATES,
 et al.,

           Defendants.


                             AMENDED NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all defendants hereby appeal to the United States Court of

Appeals for the Fifth Circuit from this Court’s amended opinion and order dated December 5, 2024,

ECF No. 33, granting plaintiffs’ motion for a preliminary injunction, ECF No. 6.




Dated: December 6, 2024                       Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              JOSEPH E. BORSON
                                              Assistant Branch Director

                                              /s/ Faith E. Lowry
                                              FAITH E. LOWRY
                                              Trial Attorney
                                              STUART J. ROBINSON
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                                               Counsel for Defendants


                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 6, 2024, I electronically filed the foregoing document with
the Clerk of Court using this Court’s CM/ECF system, which will notify all counsel of record of
such filing.

                                               /s/ Faith E. Lowry
                                               Faith E. Lowry
                                               Trial Attorney
                                               U.S. Department of Justice
                                               Civil Division, Federal Programs Branch




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